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Lead Counsel for Plaintiffs


                              UNITED STATES DISTRICT COURT
                                   DISTRICT OF KANSAS

  JOHN VALENTINE and PAUL O’RENICK,                 Case No: 24-cv-02165
  individually and on behalf of all others
  similarly situated,                               COMPLAINT — CLASS ACTION

         Plaintiffs,                                AMENDED COMPLAINT FOR
                                                    VIOLATIONS OF THE FEDERAL
         v.                                         SECURITIES LAWS

  COMPASS MINERALS INTERNATIONAL,                   JURY TRIAL DEMANDED
  INC., KEVIN S. CRUTCHFIELD, EDWARD
  C. DOWLING, JR., LORIN CRENSHAW,
  JENNY HOOD and JAMES STANDEN,

         Defendants.



       Lead Plaintiff John Valentine and Named Plaintiff Paul O’Renick (together, “Plaintiffs”),

individually and on behalf of all other persons similarly situated, by Plaintiffs’ undersigned

attorneys, for Plaintiffs’ complaint against Defendants (defined below), allege the following

based upon personal knowledge as to Plaintiffs and Plaintiffs’ own acts, and information and

belief as to all other matters, based upon, among other things, the investigation conducted by and

through their attorneys, which included, among other things, a review of the Defendants’ public

documents, conference calls, announcements, public filings, wire and press releases published by



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and regarding Compass Minerals International, Inc. (“Compass Minerals,” “Compass,” or the

“Company”), interviews with former Compass Minerals employees and others, and information

obtainable on the Internet. Plaintiffs believe that substantial evidentiary support will exist for the

allegations set forth herein after a reasonable opportunity for discovery.

                                  NATURE OF THE ACTION

       1.      This is a federal securities class action on behalf of persons or entities that

purchased Compass Minerals securities during the period from February 8, 2023 through March

22, 2024, both dates inclusive (the “Class Period”).1 Plaintiffs seek to pursue remedies under

Sections 10(b) and 20(a) of the Securities Exchange Act of 1934 (the “Exchange Act”) and Rule

10b-5 promulgated thereunder, against the Company and certain of its top officials.

       2.      Compass Minerals purports to be “a leading global provider of essential minerals”

and, working closely with a company called Fortress North America (“Fortress”), has been trying

to enter the market for fire retardant (also known as “long-term fire retardant”2) since at least

2020. Fire retardant is dropped from airplanes to fight forest fires.

       3.      Compass Minerals made an initial investment of $5 million in Fortress in 2020,

increased its holding to 45% by investing an additional $45 million in November of 2021, and

then purchased the remaining 55% of Fortress for $26 million in cash and approximately $28




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        Excluded from the Class are: (a) persons who suffered no compensable losses; and (b)
Defendants; the present and former officers and directors of Compass Minerals at all relevant
times; members of such excluded persons’ immediate families and their legal representatives,
heirs, successors, or assigns, and any entity in which any of the Defendants, or any person
excluded under this subsection (b), has or had a majority ownership interest at any time.
2
        According to the United States Fire Service (“USFS”), long-term retardants slow the
advance of fire, even after the water originally contained in the retardants has evaporated.
Because all of the retardants discussed in this Complaint are long-term retardants, the terms
“retardant” and “long-term retardant” are used interchangeably throughout.

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million in additional contingent consideration in May of 2023. On investor conference calls both

before and after completing the acquisition of Fortress, Compass repeatedly touted its takeover of

Fortress and Compass’ introduction of Fortress products into the fire retardant market as a primary

growth opportunity for the Company.

       4.      The USFS began dropping fire retardant – the bright red or pink plume dropped

from aircraft to fight forest fires – in the early 1960s. For the approximately 60 years before

Compass and Fortress teamed up to try to enter the market in 2020, a product known as Phos-

Chek was the only type of fire retardant used in the United States.

       5.      Phos-Chek was originally developed and commercialized by Monsanto in the early

1960s, and today it is made and marketed by a company called Perimeter Solutions. The active

ingredient in Phos-Chek is ammonium phosphate.

       6.      Fortress retardants, on the other hand, are not based on phosphates, but magnesium

chloride, the same compound commonly used to salt roads in the winter. Magnesium chloride is

known to be very corrosive to metals, however, so the Company attempted to neutralize this

inherent corrosiveness by adding corrosion inhibitors and other additives to the Fortress

retardants.

       7.      The USFS makes up essentially the entire market for fire retardant, as it buys the

vast majority of retardant and maintains a list – the USFS Qualified Product List (QPL) – of the

fire retardant products that can be purchased for use on United States federal and state wildlands.

If the USFS decides either not to place a retardant product on the QPL or decides not to purchase

it to use fighting fires on wildlands in the United States, the retardant is basically worthless.

       8.      The USFS started to test Fortress retardants in 2020 and, by 2021, the Fortress

retardants had passed the initial laboratory testing and progressed to a field evaluation.



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       9.      During the field evaluation of Fortress retardant in the summer of 2021, however,

a serious problem emerged: While the Fortress retardant appeared to function fine on its own, for

the most part, when it came into contact with even trace amounts of Phos-Chek, it formed a thick,

congealed substance that was highly corrosive and damaging to aircraft.

       10.     The USFS documented this “co-mingling problem” in a detailed report (the

“Report”) in September of 2021. The executive teams at Fortress and Compass – including

Defendants Crutchfield and Standen, and Fortress CEO Burnham – received copies of this Report

by email in or before February of 2022. After this alarming Report, the USFS continued to test

the Fortress retardant but was careful to ensure that the Fortress retardant did not co-mingle with

Phos-Chek pending further, specialized testing to see whether the Fortress and Phos-Chek

retardants could be safely integrated. With these integration tests still pending, the USFS added

Fortress retardants to the QPL in December of 2022, approving them for use, and in May of 2023,

amended its existing contract with Fortress to allow it to conduct this further testing, known as

the Integrated Operational Field Evaluation (I-OFE), in the summer and fall of 2023.

       11.     The ability to safely integrate with Phos-Chek was essential if the Fortress

retardant was going to achieve widespread adoption in the fire retardant market. This is because,

like bees pollinating a field, it is common for an airtanker to leave one base and then land at

another with a residual amount (or more) of retardant left in its tank, leading to co-mingling in the

ordinary course. Thus, the Fortress retardant could only reach the stage of “open competition”

with Phos Chek – meaning that the Forest Service could put out competitive bids for retardant

and allow the nation’s need for fire retardant to be filled by both Fortress and Phos-Chek retardant

on a competitive, free-market basis, as Compass repeatedly told investors was the goal – if the

two products could safely co-mingle in the field.



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       12.       During the Class Period, which runs from February 8, 2023, through March 22,

2024, Compass made a series of false and misleading statements concerning the Fortress

retardant. When asked point-blank whether there was any issue when Fortress retardant co-

mingles with Phos-Chek, in February 2023, Compass flatly denied it, stressing that it is a “non-

issue.” This was false and misleading.

       13.       Moreover, throughout the Class Period, Compass’s affirmative statements

repeatedly gave investors the false impression that the Fortress retardant had already passed all of

the USFS’s testing necessary to secure future contracts. In May of 2023, when Fortress and the

USFS amended the existing contract to allow for the USFS to conduct the I-OFE during the 2023

summer fire season, Compass repeatedly touted this contractual amendment as a major

commercial milestone for the Company but omitted that the contract was part of the USFS’s I-

OFE testing program beginning in June, the very next month.

       14.       In short, Compass misled investors to believe that no further testing of its retardant

was necessary.

       15.       Even after the USFS’s integration testing had begun in June of 2023, Compass

continued to falsely convey to investors that the Fortress retardant had already passed all of the

USFS’s tests. In fact, Compass even used a photograph from the ongoing I-OFE testing in its

investor presentations, in August and November of 2023, omitting the critical caveat that the plane

dropping Fortress retardant in the photograph was participating in the USFS’s I-OFE testing

program – something Compass knew but investors did not – and instead simply touting the drop

as a landmark achievement for the Company. These statements were false and misleading.

       16.       Accordingly, the crux of Compass’ false and misleading statements during the

Class Period was twofold: (1) that co-mingling was a “non-issue;” and (2) that Fortress retardant



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had already passed all of the USFS’s testing with flying colors, thus paving the way for a lucrative

contract with the USFS for the 2024 fire season and beyond.

       17.     This was a charade, and Compass knew it. Compass knew that co-mingling was

still very much an issue that was being probed in the I-OFE. In fact, Compass was working

closely with the USFS on the necessary logistics for the I-OFE – as is clear from Compass’s own

words – and was also holding weekly calls with the USFS to discuss the co-mingling problem,

both before and during the I-OFE that began in June of 2023 and lasted throughout the summer

2023 fire season. Compass withheld this from investors.

       18.     Even if Compass did not have an independent duty to disclose the ongoing I-OFE,

it rendered many of Compass’s affirmative statements denying that co-mingling was an issue and

stating that the Fortress retardant had already passed all of the USFS’s tests materially false and

misleading during the Class Period.

       19.     On March 25, 2024, when it was announced that the I-OFE had uncovered

significant corrosion in both of the airtankers that had carried Fortress retardant in the integration

testing and, as result, the USFS would not be entering into a contract for Fortress retardant,

Compass stock plummeted, losing 23% of its value over the next two trading days, damaging

investors.

                                 JURISDICTION AND VENUE

       20.     The claims asserted herein arise under and pursuant to Sections 10(b) and 20(a) of

the Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder by the

SEC (17 C.F.R. § 240.10b-5).

       21.     This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1331, and Section 27 of the Exchange Act (15 U.S.C. §78aa).



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        22.     Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b) and Section

27 of the Exchange Act (15 U.S.C. § 78aa(c)) as the alleged misstatements entered and the

subsequent damages took place in this judicial district.

        23.     In connection with the acts, conduct and other wrongs alleged in this complaint,

Defendants, directly or indirectly, used the means and instrumentalities of interstate commerce,

including but not limited to, the United States mails, interstate telephone communications and the

facilities of the national securities markets.

                                                 PARTIES

        24.     Lead Plaintiff John Valentine purchased Compass Minerals securities at artificially

inflated prices during the Class Period and has been damaged thereby. His PSLRA certification

was previously filed with this Court and is incorporated here by reference.

        25.     Named Plaintiff Paul O’Renick purchased Compass Minerals securities at

artificially inflated prices during the Class Period and has been damaged thereby. His PSLRA

certification is attached hereto.

        26.     Defendant Compass Minerals describes itself as “a leading global provider of

essential minerals,” and has a number of business lines ranging from salt to fire retardants.

Compass Minerals is incorporated in Delaware and its principal executive offices are located at

9900 West 109th Street, Suite 100, Overland Park, KS 66210. The Company’s common stock

trades on the New York Stock Exchange (the “NYSE”) under the ticker symbol “CMP.”

        27.     In connection with Compass Minerals’ salt business, after a multi-year

investigation, the SEC issued an Order making findings and imposing a cease-and-desist order on

September 23, 2022. The SEC also put out a press release, entitled: SEC Charges Compass

Minerals for Misleading Investors about Its Operations at World’s Largest Underground Salt



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Mine, with the subheading: Company also Charged for Disclosure Control Failures Involving

Mercury Contamination in Brazil.

       28.     In the press release, Associate Director of the SEC’s Division of Enforcement

stated: “What companies say to investors must be consistent with what they know. Yet Compass

repeatedly made public statements that did not jibe with the facts on—or under—the ground at

[the] Goderich [mine]. By misleading investors about mining costs in Canada and failing to

analyze the potential financial consequences of its environmental contamination in Brazil,

Compass fell far short of what the federal securities laws require.” Compass agreed to pay $12

million to settle the SEC’s charges.

       29.     In addition, the Company is facing a private securities class action for misleading

investors in connection with the Goderich mine, which names Defendant Standen, among other

defendants. Defendants’ motion to dismiss that case was denied on December 12, 2023. See IBT

Emp. Grp. Welfare Fund v. Compass Mins. Int’l, Inc., 706 F. Supp. 3d 1225, 1263 (D. Kan. 2023)

(Melgren, C.J.), motion to certify appeal denied, 2024 WL 1140947 (D. Kan. Mar. 15, 2024).

       30.     Compass Minerals is also in the business of fire retardants. According to the

Company, its “next-generation fire retardants help to slow, stop and prevent wildfires through the

use of high-performing and environmentally-friendly products.”

       31.     Pertinent to this action, Compass Minerals began a series of equity investments in

May of 2020 in Fortress, which it has described as “a next-generation fire retardant business

dedicated to developing and producing a portfolio of magnesium chloride-based fire retardant

products to help combat wildfires.” After making its initial $5 million investment in 2020,

Compass Minerals increased its holding of Fortress to 45% in November 2021 by investing an




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additional $45 million, and Compass purchased the remaining 55% of Fortress for $26 million in

cash and approximately $28 million in contingent consideration in May of 2023.

          32.   Defendant Kevin S. Crutchfield (“Crutchfield”) served as the Company’s Chief

Executive Officer (“CEO”) and president, and also served on the Company’s board of directors,

from May 7, 2019 until January 17, 2024. As CEO, Defendant Crutchfield was directly involved

in the day-to-day operations of the Company at the highest levels, was intimately involved with

the Fortress fire retardant business, and was directly or indirectly involved in drafting, producing,

reviewing and/or disseminating the false and misleading statements and information alleged

herein.

          33.   Defendant Edward C. Dowling, Jr. (“Dowling”) has served as the Company’s CEO

since January 18, 2024, and has served on the Company’s board of directors since March of 2020.

In this capacity, Defendant Dowling was directly involved in the day-to-day operations of the

Company at the highest levels, was intimately involved with the Fortress fire retardant business,

and was directly or indirectly involved in drafting, producing, reviewing and/or disseminating the

false and misleading statements and information alleged herein.

          34.   Defendant Lorin Crenshaw (“Crenshaw”) served as the Company’s Chief

Financial Officer (“CFO”) from December 2021 through the end of the Class Period. Defendant

Crenshaw was responsible for all aspects of the Company’s financial management, including

accounting, reporting, and investor relations. Defendant Crenshaw was aware of or recklessly

disregarded the fact that the false and misleading statements were being issued concerning the

Company; and/or approved or ratified these statements in violation of the federal securities laws.

          35.   Defendant James Standen (“Standen”) served as the Company’s CFO from 2017

to December 2021, when he transitioned to the role of Chief Commercial Officer, which he held



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until January 16, 2024. Defendant Standen was aware of or recklessly disregarded the fact that

the false and misleading statements were being issued concerning the Company; and/or approved

or ratified these statements in violation of the federal securities laws.

       36.     Defendant Jenny Hood (“Hood”) joined Compass Minerals in September of 2019

as Vice President of Supply Chains. In August of 2023, Ms. Hood was named head of fire

retardants. In January of 2024, Ms. Hood was appointed Chief Supply Chain Officer, and is

responsible for all aspects of Compass Minerals’ fire retardant business. Defendant Hood was

directly involved in the day-to-day operations of the Fortress fire retardant business, and was

directly or indirectly involved in drafting, producing, reviewing and/or disseminating the false

and misleading statements and information alleged herein.

       37.     Defendants Crutchfield, Dowling, Crenshaw, Standen and Hood are collectively

referred to herein as the “Individual Defendants.”

       38.     Compass Minerals is liable for the acts of the Individual Defendants and its

employees under the doctrine of respondeat superior and common law principles of agency

because all of the wrongful acts complained of herein were carried out within the scope of their

employment.

       39.     The scienter of the Individual Defendants and other employees and agents of the

Company is similarly imputed to the Company under respondeat superior and agency principles.

       40.     Compass Minerals and the Individual Defendants are collectively referred to

herein as “Defendants.”




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                  DETAILED ALLEGATIONS OF MISCONDUCT
                                         BACKGROUND
The History of Fire Retardant in the USA

        41.     The USFS has been using fire retardant – the recognizable plume dropped from

aircraft – to fight forest fires since the early 1960s.

        42.     Until 2020, only one type of retardant was used in the United States: Phos-Chek.

        43.     Originally developed, trademarked and brought to market by Monsanto, the active

ingredient in Phos-Chek is ammonium phosphate. When the phosphate-based Phos-Chek is

dropped on land threatened by wildfire, the Phos-Chek triggers a chemical reaction that reduces

the flammability of vegetation, preventing the outbreak of fires and decreasing burn intensity.

        44.     Phos-Chek has evolved somewhat over time – better thickeners were developed to

improve drop characteristics, more sophisticated corrosion inhibitors were added, and certain

changes were made to improve its environmental profile – and Phos-Chek continues to dominate

the fire retardant market today.

        45.     Phos-Chek was spun off by Monsanto in the late 1990s, and is now made and

marketed by a company called Perimeter Solutions.

The USFS Is the Market for Fire Retardant

        46.     The USFS is the market for fire retardant. The USFS buys the vast majority of fire

retardant and maintains a list – the USFS Qualified Product List (QPL) – of the fire retardant

products that are approved to be bought and used on United States federal and state wildlands.

        47.     If the USFS decides not to place a retardant product on the QPL or decides not to

purchase it for fighting fires on wildlands in the United States, the retardant has essentially no

commercial value and is effectively dead in the water.




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       48.     Gaining a place on the USFS’s QPL is generally a two-step process. First, the

retardant must pass a laboratory evaluation. If it does, then the retardant is conditionally qualified,

and it must then undergo a field evaluation. If the retardant passes the field evaluation, then the

product is fully qualified and the USFS has the option to purchase it for use fighting wildfires.

Fortress and Compass Enter the Scene

       49.     Founded in 2016, Fortress sought to disrupt Phos-Chek’s decades-long dominance

of the industry by developing a retardant that is not based on phosphates, but on magnesium

chloride. Magnesium chloride is the same compound commonly used to salt roads in the winter.

       50.     While magnesium chloride is known to be highly corrosive to metals, the goal for

Fortress retardants was to add corrosion inhibitors and other materials to the products in an attempt

to eliminate the products’ corrosiveness.

       51.     If a retardant is corrosive to metals, the retardant will cause damage to the aircraft

used to carry and drop the retardant, as well as related safety concerns for firefighting personnel.

       52.     Fortress has been working closely with Compass Minerals on its magnesium

chloride-based retardants since May 2020. Fortress makes its retardant using magnesium chloride

harvested from Compass’s solar evaporation site on the Great Salt Lake near Ogden, Utah.

       53.     After making an initial $5 million investment in 2020, Compass Minerals

increased its holding of Fortress to 45% in November 2021 by investing an additional $45 million,

and Compass proceeded to purchase the remaining 55% of Fortress for $26 million in cash and

approximately $28 million in contingent consideration in May of 2023.3 Fortress was a material

part of Compass Minerals’ business since at least late 2021, and remained so throughout the Class



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       Compass later issued a Non Reliance on Previously Issued Financial Report Form 8 K
because the Company identified misstatements related to the contingent consideration liability of
up to $28 million, and said the Company would restate the effected financial statements.

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Period. Fortress’ importance to Compass is underscored by the fact that Compass’ top leadership

closely monitored it and touted its prospects repeatedly on earnings calls during the Class Period.

       54.     With the financial and operational backing of Compass, Fortress continued its

efforts to create a magnesium chloride-based retardant that would be effective on fires without

corroding the aircraft from which it is dropped.

       55.     Fortress’s magnesium chloride-based retardant came in both a powder (dry

concentrate) form, known as FR-100, and a liquid (wet concentrate) form, FR-200. Both FR-100

and FR-200 were designed to be dropped from aircraft.

       56.     By May of 2021, Fortress’ magnesium chloride-based fire retardant, both FR-100

and FR-200, became the first non-phosphate retardant to be conditionally qualified on the QPL,

meaning that the Fortress retardant had passed the USFS’s lab testing.

       57.     The next test for Fortress retardant was the Operational Field Evaluation (“OFE”),

during which 200,000 gallons of FR-100 were dropped from aircraft based at the Missoula,

Montana airtanker base in the summer of 2021.

       58.     The OFE was designed to test whether the Fortress retardant is an acceptable tool

under actual firefighting conditions, as well as to identify any problems that would not be detected

during laboratory testing.

The USFS’s Report Documents Severe Corrosion when FR-100 and Phos-Chek Mix

       59.     The OFE revealed a serious problem with Fortress’s retardant.

       60.     In September 2021, the USFS documented severe, safety-related concerns that had

arisen during the OFE that summer in the Report entitled, Fortress FR-100 Retardant:

Documentation of Aviation Safety-Related Concerns when co-mingled with Phos-Chek LC-95.




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       61.     As its title suggests, the Report documented severe corrosion when Fortress FR-

100 and Phos-Chek co-mingle. The Report begins by stating: “A serious concern is the level of

corrosion experienced during the OFE for Fortress FR-100. Unknown and potentially

undetectable issues and long-term effects of both the Magnesium Chloride (MgCl2) based FR-

100 product alone as well as the accelerated corrosion experienced when FR-100 co-mingles with

the ammonium polyphosphate-based PhosChek LC-95, needs to be further explored. . . . The

presence of corrosion can result in a significant decrease in thickness of original load bearing

material that can lead to loss of structural integrity and potentially catastrophic failure.” Thus,

the Report raised the possibility of corrosion issues with the Fortress retardant used alone, but

focused most of its energy on the serious “accelerated corrosion” that was found to occur when

even trace amounts of the two retardants co-mingle in the field.

       62.     While the Report stated that no corrosion issues were found in laboratory testing

of FR-100 and FR-200 (this laboratory testing consisted of fully immersing samples of stainless

steel alloys in FR-100 ad FR-200 at a high temperature for 30 days), severe problems arose when

the products co-mingled: “Two air tanker companies participating in the OFE experienced

maintenance-related issues when FR-100 and Phos-Chek LC-95 residuals co-mingled inside the

retardant tanks. The co-mingling occurs during the normal course of business as Air tankers load

from different bases. Missoula ATB [Airtanker Base] utilized Fortress FR-100, but when the air

tankers were sent to a different location to reload, the tanks were then loaded with Phos-Chek LC-

95. The residual products left in the tanks between loads is where the co-mingling occurred. The

co-mingled product was found to present maintenance challenges related to corrosion, parts

replacement and aircraft cleaning.”




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       63.     The Report (portions excerpted below) explained in great detail that the co-

mingled product formed a highly corrosive, destructive, congealed substance, which the Report

referred to as “precipitate,” that was stringy, would not dissolve in water or rinse off, and was

very damaging to aircraft:




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       64.     Below these graphic photographs documenting the corrosion problems, the Report

states: “A concern among the company maintenance personnel is that there are likely hidden

damages that are not being detected. They are concerned that if the actuators are showing this

level of corrosion after hauling only a few loads of FR-100, there are likely unseen corrosion

issues to other parts inside the retardant tank or fuselage. Safety of flight becomes important if




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systems malfunction. For example, if an air tanker loses an engine and isn’t able to release a load

because the drop system is disabled, the outcome could be catastrophic.”

       65.     In its conclusion, the Report stated that: “Fortress FR-100 is an approved product

for use, however, due to the lack of data and lack of testing of the substance created when the two

products intermingle, it is imperative that these two products do not come in contact with one

another.” (Emphasis in original).

       66.     Finally, in the section recounting the USFS’s recommendations concerning the

dangerous interaction between the Fortress and Phos-Chek retardants moving forward, the Report

listed: “Conduct further analysis of the precipitate to determine why is it creating a gummy

material that is difficult to clean and determine viable solutions to mitigate issues[;] Conduct

further analysis of the accelerated corrosion that seems to be related to the co-mingling of Fortress

FR-100 and Phoschek LC-95[;] Do not allow Fortress FR-100 and Phos-Chek LC-95 to come in

contact/co-mingle in aircraft retardant tanks[.]” (Emphasis in original).

Fortress and Compass Receive the Report by Email Shortly After the 2021 Fire Season

       67.     Former employee 1 (“FE-1”) served as the Chief Administrative Officer of

Fortress from May 2019 to May 2023, reporting directly to Fortress CEO Burnham, and then

became Chief Administrative Officer at Compass Minerals from the time that Compass acquired

Fortress in May of 2023 until March of 2024. FE-1 was Fortress’s first employee and personally

aware of every aspect of its fire retardant business. According to FE-1, FE-1 along with the top

executives at Fortress and Compass – including Defendant Crutchfield, Defendant Standen, and

Fortress CEO Burnham – received copies of the Report by email shortly after the 2021 fire season,

in or before approximately February of 2022.




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          68.   FE-1 acknowledged that Compass knew from the USFS’s testing in the summer

of 2021 that the co-mingling of Phos-Chek and Fortress caused corrosion. Speaking of the co-

mingling issue, the top executives including Defendant Crutchfield, Defendant Standen,

Defendant Hood and Fortress CEO Burnham “were completely aware,” FE-1 said.

Aware of the Corrosion Issue Documented in the USFS Report, Fortress Obfuscates and
Points to Lab Tests that Do Not Involve Co-mingling

          69.   In April of 2022, an article appeared in Fire Aviation magazine, entitled: A new

competitor encounters obstacles as they attempt to enter the fire retardant market.

          70.   The article discussed the USFS’s Report documenting the severe corrosion that

was found to occur when Fortress and Phos-Chek co-mingled during the 2021 OFE: “During the

200,000-gallon test of Fortress retardant in 2021 at the Missoula air tanker base a surprising issue

was identified by two air tanker companies when their aircraft were loaded with Fortress retardant

after carrying Perimeter retardant, or vice versa. In some cases the residuals of the previous

retardant when co-mingled with the second product left a sticky substance in the tanks that was

visible on interior and exterior surfaces after the tanks were emptied. They also identified

increased corrosion on some aircraft components. The co-mingled product was found to present

maintenance challenges related to corrosion, parts replacement, and aircraft cleaning according to

a report prepared by a group of five aviation specialists who presumably all worked for the Forest

Service.”

          71.   The Fire Aviation article also copy-and-pasted images and excerpts from the

Report.

          72.   The author separately interviewed representatives, including the CEOs, from both

Fortress and Perimeter Solutions in connection with the article.




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       73.      When asked about the co-mingling issue documented in the USFS Report, a

Perimeter representative made the point that, even though compatibility of retardants in the field

is obviously critical if Phos-Chek and Fortress retardants are both going to be used fighting

wildfires, the USFS’s QPL approval process appears not to take it into account. The Perimeter

representative juxtaposed the USFS’s QPL approval process with that of a different government

agency, the Department of Defense’s approval process for firefighting foam: “In the Department

of Defense qualification process, there is a requirement that any new product being tested must

be compatible with any products that are already qualified. They actually test mixtures of any new

product with all of the products that are already approved. And that specification has been around

for decades.”

       74.      The Fortress executives, however, did not acknowledge the severe corrosion that

was found to occur when Fortress retardant and Phos-Chek co-mingle, although they knew about

the issue and it was the main point of the article for which they were being interviewed. Instead,

when asked about the corrosion concerns, a Fortress representative responded by referring to the

lab testing—lab testing that does not involve co-mingling: “They single out mag chloride and

they start talking about it as if we send it up in airplanes in the raw, it’s like, ‘Hey, we’re gonna

put raw salt up there.’… Chloride would be very corrosive. The science of what we do, what we

spend our money on, what Joe [McLellan PhD] has an entire team doing all day is figure out how

to neutralize corrosion. That’s what [Perimeter] does as well, but not as well as we do. Look at

our corrosion numbers.”




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       75.     The Fortress executives even went so far as to show the author sample metal

coupons4 that had been tested in a lab:

       Dr. McLellan leads Fortress’ work to mitigate the corrosion caused by the retardant, for
       example adding corrosion inhibitors to the product. During our meeting in a breakout
       room at the conference he explained a little about how that is done and the tests the Forest
       Service and the company conduct to detect and measure corrosion. He then went to his
       backpack and pulled out handfuls of small plastic bags all containing “coupons” of metal
       strips — 2024-T3 Aluminum to be precise — saying they ran the same exact tests the
       Forest Service requires for retardants to be on the QPL. He removed the coupons from the
       bags and carefully laid them out on the black tablecloth, each approximately an inch or so
       wide and about four inches long. They were labeled for the type of retardant, Fortress’s
       FR-100 or Perimeter’s LC95A-Fx. Some were tested with ready to use (RTU) retardant
       mixed and appropriate for loading onto an air tanker, and others for the concentrate
       (Conc.) that would need to be mixed with water before being used in an aircraft.

       The coupons had been tested by immersion into the retardant for various lengths of time
       and at different temperatures.

       Dr. McLellan held up a couple of the coupons labeled LC95A-Fx that had far more
       discoloration and pitting than the coupons labeled FR-100, and said, “It’s far more
       corrosive than our product.”
       76.     Despite its apparent effort to obfuscate and portray the corrosion concerns as

unfounded attempts by a competitor to derail Fortress’ progress, Fortress was aware of the adverse

issues documented in the USFS Report, as Fortress and Compass had received copies of the

complete Report in or before February of 2022.

Testing Continues with the Two Retardants Kept Separate At All Times, and the USFS
Grants the Fortress Retardants Full Qualification to Facilitate Further Integration Testing

       77.     In the summer of 2022, the USFS continued its Operational Field Evaluation of

Fortress retardants, dropping 200,000 gallons of FR-200 from the airtanker base near Ronan,

Montana.



4
       A metal coupon is a sample of metal or metalwork submitted to a customer or testing
agency for approval.

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       78.     Because the USFS ensured that Fortress retardant and Phos-Chek did not co-

mingle during this round of testing, the corrosion issue was kept at bay, and both FR-100 and FR-

200 were fully qualified on the QPL in December of 2022.

       79.     On December 12, 2022, Fortress issued a press release announcing that FR-100

and FR-200 had been granted fully qualified status on the QPL. Fortress again touted its

performance on the USFS’s lab testing, providing a hyperlink to the lab results and stating:

“Importantly, Fortress LTRs have best-in-class corrosion protection, based on USFS testing.

Corrosion testing on aerospace aluminum alloys, steel, and brass consistently demonstrates that

Fortress’ newly approved LTRs have the lowest corrosion rates of any QPL approved products.”

       80.     For his part, Compass Minerals CEO and President, Defendant Crutchfield, stated:

“Compass has been working closely with the Fortress since 2020 and continues to support

Fortress’s efforts to fully commercialize their Long Term Fire Retardants products in the USA

and internationally.”

                              SUBSTANTIVE ALLEGATIONS
                         Materially False and Misleading Statements
                              Issued During the Class Period

       81.     On February 8, 2023, Compass Minerals held its first quarter earnings call for fiscal

year 2023, and was specifically asked about the comingling issue involving Fortress retardant and

Phos-Chek:

       Vincent Anderson [Stifel]: And then if we’re thinking about Fortress, now that we
       are getting a bit closer to revenues here or, well, earnings. Can you just talk about
       the relevance of the tankers that are used in fire suppression, what kind of influence
       they could have on the adoption of your product if they had concerns or
       consternations over change over time between your product and Perimeter’s
       products or mixing trace amounts of one product with the other? Is there just kind
       of a gray area in the whole process, I was hoping you could speak to their influence?

       Defendant Standen: So comingling is what you’re referring to when you perhaps
       have an aircraft that’s going from one base to another and would be using our


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       product after having used Perimeter’s product. There are standard protocols
       around how to rinse the tank, how to prevent any issues. I’d first like to mention
       the Fortress products have passed with flying colors, any corrosion testing. So
       that’s a non-issue. When you have some comingling, you end up with some
       residue in a tank. So it’s simply a rinse process and a reload. So we don’t view it
       as an issue. We think it’s very, very manageable by base operations for tankers
       coming into competitor bases and competitor tankers coming into Fortress bases.
       So very manageable. And we’re on the QPL and we’ve passed all the tests, so it
       should not be an issue.

       (Emphasis added).

       82.     Defendant Standen’s statement is materially false and misleading.           First, the

statement that, when comingling occurs, “there are standard protocols around how to rinse the

tank, how to prevent any issues,” and “it’s simply a rinse process and a reload,” is a lie. The

core finding of the USFS’s Report from the year before, which Compass had received and was

aware of, is that the precipitate that forms when Phos-Chek and Fortress retardant co-mingle could

not be removed by rinsing the tank. See, e.g., ¶¶63-66 (“The pictures are from an Air tanker’s dry

bay area. This material would not rinse off and mechanics had to crawl into the bay area and

use scrapers to remove it.”); (“The sample to the left is the precipitate scraped out of a dry bay in

July 2021. Company maintenance noted that the precipitate was difficult to pull apart, was “very

stringy” and exhibited properties similar to fiberglass. Maintenance personnel submerged a

sample in water and found that it would not dissolve.”); (Recommendations: “Conduct further

analysis of the precipitate to determine why is it creating a gummy material that is difficult to

clean and determine viable solutions to mitigate issues[;] Conduct further analysis of the

accelerated corrosion that seems to be related to the co-mingling of Fortress FR-100 and

Phoschek LC-95[;] Do not allow Fortress FR-100 and Phos-Chek LC-95 to come in contact/co-

mingle in aircraft retardant tanks[.]”) In light of the USFS’s detailed documentation of how

difficult this precipitate was for airtanker operators to remove from the aircraft, Compass Minerals’



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statement that “We think it’s very, very manageable by base operations for tankers coming into

competitor bases and competitor tankers coming into Fortress bases. So very manageable” is

false, as the entire thrust of the USFS Report was that dealing with the co-mingled precipitate was

not manageable, which is why the USFS had to mandate that the two retardants be kept separate

at all times pending further integration testing. Relatedly, Compass Minerals’ claim that “So we

don’t view it as an issue” is false and misleading because, at the very least, it was clear the USFS

viewed comingling as a major issue, and the USFS is the sole customer for Fortress retardant.

Moreover, it is misleading that, when asked about co-mingling specifically, Compass Minerals

responded by stating that “Fortress products have passed with flying colors, any corrosion

testing” and are on the QPL and therefore this is a non-issue, because Compass is referring to

laboratory testing that it knows does not test co-mingling at all.

       83.     In addition, it was misleading to state, in response to the question about co-

mingling, that “we’ve passed all the tests” because, as explained below and as Compass was aware,

the tests that were already done did not involve co-mingling and the USFS would be conducting

another round of testing for corrosion when the two retardants are integrated, the Integrated

Operational Field Evaluation, or I-OFE. While the future of Fortress retardant and its prospects

for entering open competition hinged on it passing the I-OFE, Compass Minerals repeatedly

omitted this critical test from its public statements, rendering its statements false and misleading

throughout the Class Period.

       84.     On March 9, 2023, the USFS noted in its e-procurement management system that

it was planning to amend its existing contract with Fortress by issuing an additional award for the

purpose of performing an Integrated Operational Field Evaluation:

       The U.S. Department of Agriculture, Forest Service (USDA FS), Procurement &
       Property Services (PPS), Incident Procurement Organization (IPO) intends to


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       award a sole source Indefinite-Delivery, Indefinite-Quantity contract to Fortress
       Fire Retardant Systems (Fortress) for a limited supply of Fortress fully qualified
       aerial Long-Term Fire Retardant (LTFR) products and ancillary product support to
       the USDA FS at various Airtanker base (ATB) locations, for the purpose of
       performing an Integrated Operation[al] Field Evaluation. Award will be via
       modification to existing contract 1202SC21T4001 for Operational Field
       Evaluations.

       85.     On April 27, 2023, three officials in the contracting and procurement division of

the United States Department of Agriculture, which houses the USFS, approved the amendment

to Fortress’ existing contract for the purposes of performing the I-OFE. As the Contracting Officer

wrote in a record dated April 27, 2023:

       Fortress’s recent approval to the QPL for aerial LTFR for Wildland Fire
       Management and the USDA FS Specification 5100-304d (or latest version) as
       amended, has created operational concerns of co-mingling of the Fortress aerial
       LTFR products and existing products in the USDA FS system. Because of the
       known interaction issues with the aerial LTFR products in the system, it is critical
       to award a contract for the continued use and testing of the new aerial LTFR
       products until such time that operational concerns have been fully vetted and the
       USDA FS can safely and effectively introduce the various aerial LTFR products
       into the field through formal mitigation measures.
       …
        The USDA FS intends to enter into a contract with Fortress to purchase various
       aerial LTFR products approved on the QPL and the necessary supporting ancillary
       services to deliver, mix and load the product onto the designated aircraft. The period
       of performance will be 90 days from date of award, with an option to extend an
       additional 90 days if needed. The estimated value of the contract action is
       approximately $24M. To ensure appropriate co-mingling tests are performed on
       Fortress aerial LTFR products in the field, only one source of supply is available
       to meet the requirements of the USDA FS.
       …
       Ongoing Market Research is being conducted to determine the appropriate tests and
       test procedures to determine how Fortress’s aerial LTFR products can be safely and
       effectively introduced into the USDA FS system. Successful integration of
       Fortress products will result in future competition in the aerial LTFR products
       market.

       86.     On May 8, 2023, Fortress and the USFS signed the amendment, contracting for an

additional $24 million worth of Fortress retardant so that the USFS could conduct the I-OFE.

       87.     The following day, May 9, 2023, Compass Minerals put out a press release


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announcing that it was buying the remaining 55% of Fortress and leaving the Fortress management

team, including its CEO, in place to run the business, and also touting the new Fortress contract.

Compass Minerals’ official press release stated:

       In December 2022, Fortress became the first new company in over two decades to
       have long-term aerial fire retardants added to the U.S. Forest Service’s (USFS)
       Qualified Product List (QPL). Fortress’ FR-100 Powder and FR-200 Liquid
       Concentrate products met and exceeded the USFS’ rigorous testing criteria in
       such categories as environmental effects and toxicity to aquatic and mammalian
       species, corrosion on a variety of aircraft metals, burn retardation efficacy and
       other qualifiers (e.g., long-term storability, acceptable viscosity and pumpability)
       and finally the completion of a live wildfire operational field evaluation. In May of
       2023, Fortress entered into a contract with the USFS whereby Fortress will
       provide up to five mobile-deployed fire retardant air tanker bases, utilizing
       Fortress’ newly designed, state-of-the-art mixing units. These units are expected
       to be deployed to air bases where Fortress will supply product and attendant
       services for the 2023 fire season.


       88.     The emphasized statements were false and misleading. The first emphasized

statement is misleading because the statement makes it sound as though having been added to the

QPL and having “met and exceeded the USFS’ rigorous testing criteria,” including the testing

for “corrosion on a variety of aircraft metals,” meant that Fortress had already passed all USFS

testing. But as Compass knew, the tests that Compass was referring to are tests done without

comingling Fortress retardant and Phos-Chek, and in fact any comingling was specifically avoided

because of the serious corrosion concerns that were identified when the two retardants comingled.

Not only were the serious corrosion concerns that arose when Fortress and Phos-Chek co-mingled

still unresolved by the testing that the USFS had done up to this point, but those corrosion concerns

were going to be the subject of an additional round of testing, the USFS’s I-OFE, designed

specifically to test for corrosion when the two products are integrated, beginning the very next

month, in June 2023. Compass Minerals was aware that the USFS was going to conduct the I-

OFE months before the USFS commenced the test in June 2023, and in fact Compass Minerals


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was working closely with the USFS on the logistics necessary to make that test possible.

Accordingly, this statement is materially false and misleading because it gave the impression that

it was a settled fact that Fortress fire retardants had passed all of the USFS’s tests, when Compass

knew that was not settled and there would in fact be further testing of the Fortress retardant.

       89.     The second emphasized statement, specifically that “[t]hese units are expected to

be deployed to air bases where Fortress will supply product and attendant services for the 2023

fire season,” is misleading because it omits to include that the units will be deployed as part of the

USFS’s upcoming Integrated Operational Field Evaluation to follow up on the concerns

documented in the USFS Report and to test for corrosion when Fortress and Phos-Chek retardants

are integrated in the field. This statement too is materially false and misleading because it gave

the impression that it was a settled fact that Fortress’s fire retardants had passed all of the USFS’s

tests, when in fact Compass knew that was not settled and there would be further testing of Fortress

retardant beginning the very next month.

       90.     Moreover, Compass Minerals’ May 9, 2023 press release included this comment

from Fortress CEO Robert Burnham:

       Burnham commented, “Being fully integrated with Compass Minerals will
       represent a quantum leap forward for Fortress and empower us to scale up and
       compete in what has been a one-sided market. Achieving the recent milestone of
       becoming the first new company in more than two decades to have our aerial fire
       retardants fully approved on the Qualified Product List, followed by securing a
       binding supply agreement with the USFS, represents the culmination of a multi-
       year effort and shared vision between the Fortress and Compass Minerals
       teams.[”]

       91.     The emphasized statement is false and misleading because it refers to the

contractual amendment enabling the USFS to conduct the I-OFE as the “culmination.” But it was

not the “culmination” of anything: Fortress’s retardant was still required to pass the I-OFE and

demonstrate it was not corrosive to aircraft when co-mingled before the USFS could give the


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retardant a long-term supply agreement. Compass would have to prove that the Fortress and Phos-

Chek retardants could be safely integrated in the field, successful integration being a prerequisite

to future widespread adoption and open competition on the part of the USFS. In short, the I-OFE

was a hurdle standing in the way of the Fortress retardant, one that Compass concealed from

investors.

        92.      Also on May 9, 2023, the Company issued a press release announcing their second-

quarter results. The Company announced as a recent highlight: “Acquisition of remaining 55% of

Fortress North America (Fortress), a next-generation fire-retardant company, expected to be

immediately accretive in fiscal 2023 with prospects for considerable upside thereafter[.]”

        93.      Later in the press release, the Company released some additional detail regarding

the contract extension that Fortress and the USFS had signed the day before to enable the USFS to

conduct the I-OFE: “Prior to the acquisition, Fortress entered into an agreement with the U.S.

Forest Service (USFS) to supply product and provide associated services in the 2023 fire season.

Fortress is the first new aerial fire-retardant company in over 20 years to supply fully approved

retardants to the USFS in its fire-fighting activities. Fortress is expected to generate between $20

million and $25 million of revenue and operating profit and EBITDA in the low double-digit

millions of dollars in fiscal 2023.” While Compass referred to the Fortress retardants as “fully

approved,” it did not mention that the USFS was entering into the contract extension to conduct

the I-OFE to test whether or not Fortress retardant could be safely integrated with the existing

retardant, or that the future use of the Fortress retardant by the USFS depended on the results of

this upcoming test.     This was materially misleading to investors because it overstated the

possibility that the USFS would continue to contract with Compass Minerals for Fortress retardant

in the future.



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       94.    The following day, on May 10, 2023, the Company held its earnings call for the

second quarter of 2023. Defendant Crutchfield stated in prepared remarks:

       For those of you who are not familiar with Fortress, it’s a next gen fire retardant
       company that utilizes our magnesium chloride and other salt production as the key
       ingredients in its formulations of aerial and ground fire retardants. The aerial fire
       retardant industry has essentially been a monopoly for over two decades. Bob
       Burnham and his team are entrepreneurs, as well as fire, aviation, chemistry, and
       government contract experts who saw an opportunity to develop a suite of products
       that were more effective and better for the environment than the incumbent
       products being used.
       …

       In December 2022, Fortress became the first new company in over two decades to
       have long term aerial, fire retardants added to the U.S. Forest Service, qualified
       product list, or QPL after meeting or exceeding rigorous testing across a number of
       categories and evaluations…

       Then early this month, Fortress reached an agreement with the U.S. Forest Service
       that will result in Fortress supporting up to five mobile deployed air bases with
       product and associated services in the upcoming 2023 fire season utilizing Fortress
       new state of the art, mobile and fixed retardant mixing units. The U.S. government
       recognizes that competition in the market is preferable to sole sourcing for essential
       products and services and accordingly, there are programs that provide on ramps
       into the retardant market where it would like to see competition occur.

       Under a framework used by U.S. government agencies, including the U.S. Forest
       Service to boost competition in critical sectors where government is the primary
       buyer, a substantial portion of Fortress activity will be contracted by the U.S. Forest
       Service in fiscal ‘23. We anticipate operating under a similar framework in 2024 as
       well, and then moving into more open competition in 2025. In the simplest terms,
       this program establishes a glide path for new competitors like Fortress, to attain
       critical mass for their products and services in the first couple of years of
       commercial operation and encourages Fortress to build additional scale.

       95.    This statement is materially misleading because it makes it sound as though being

placed on the QPL meant that Fortress retardants had already passed all of the USFS’s tests, and

that Fortress’s contract for the 2023 fire season was an ordinary commercial contract between the

USFS and Fortress on the so-called “glide path” towards additional scale, commercial operation,

and open competition. But the contract was part of the USFS’s I-OFE; it was part of the upcoming,



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follow-up test on comingling that would determine the future of the Fortress retardants. Moreover,

the statement is misleading because it references the expectation that Compass Minerals would

operate “under a similar framework in 2024” before “moving into more open competition in 2025,”

but omits to mention that entering open competition will require mixing of Fortress retardant with

Phos-Chek, which is precisely what the USFS is testing in the I-OFE. It was misleading to fail to

disclose to investors that the USFS would not likely use Phos-Chek in 2024 and 2025 if it failed

the I-OFE in 2023. In other words, Pho-Chek’s future hinged on the I-OFE and Defendants

misleadingly concealed that fact while giving investors the false impression that no further testing

was required before the USFS adopted Fortress’s retardant for long-term use.

       96.     Later in the earnings call, Compass was asked specially about any kind of

“monitoring” “with the competitive product” that will be occurring in the upcoming fire season:

       Vincent Anderson [Stifel]: So will the acres that deploy your product this year,
       assuming it’s required, will those receive some kind of active monitoring to
       continue to compare and contrast with the competitive product?

       Defendant Standen: Acres, are you talking, are you still talking about fire
       retardant?

       Vincent Anderson [Stifel]: Still Fortress. Yeah. This was studied.

       Speaker: I’m not sure I understand. Can you say it again? Sorry.

       Vincent Anderson [Stifel]: You’re going to be deployed, this year in the field,
       officially? And will there be active monitoring of how your product performs?

       Defendant Crutchfield: So the product efficacy is defined, established, and that’s
       actually what gets us on the QPL as well as the environmental benefits, etc. So
       there is not. This is a process where we are ramping up kind of five mobile
       retardant bases through the summer to various locations. We’re currently
       working on that operational plan now with the expectation that the first base
       deploys in June and then ramps up through the season. And it’ll be working, the
       bases will be in similar locations to the incumbent. And able to operate at the
       same time at the same places throughout the season.




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       97.     The emphasized statement is false and misleading because, in the context of being

asked specifically about any monitoring involving the competitive product in the upcoming fire

season, Defendant Crutchfield answers by insisting that the “product efficacy” has already been

established and refers to the OFE testing that occurred prior to the Fortress retardant being placed

on the QPL. But the question is about monitoring in the upcoming fire season, and Defendant

Crutchfield omits the I-OFE entirely. In fact, even as Defendant Crutchfield states that Compass

is currently working on the “operational plan” for June (the month the I-OFE will begin), and that

the plan will involve placing Fortress bases “in similar locations to the incumbent,” (the

operational plan for the I-OFE), Defendant Crutchfield omits that this is all part of the USFS’s I-

OFE which is designed to test whether the retardants can safely commingle in the field or not. Put

simply, when asked about monitoring in the upcoming fire season, Defendant Crutchfield falsely

denies it and omits the I-OFE from his answer, even though the I-OFE is beginning in June, and

Defendant Crutchfield acknowledges that he is currently working on its operational plan. (See

¶¶98-103, describing the operational plan for the I-OFE.) By omitting the I-OFE from his response

about upcoming monitoring involving Fortress and Phos-Chek, Defendant Crutchfield misled

investors.

       98.     On June 15, 2023, the USFS began the I-OFE. The I-OFE’s aim was to test for

corrosion and other effects of integrating Fortress and Phos-Chek, following up on the serious

problems that had surfaced when the two retardants co-mingled in the 2021 OFE.

       99.     The I-OFE involved two airtankers carrying Fortress products, and took place in

Arizona, California, Montana and Washington State over the summer of 2023. The design of the

I-OFE consisted of strategically locating Fortress mobile retardant bases alongside existing

airtanker bases stocked with Phos-Chek. According to the USFS, the testing was designed in three



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phases, with the goal of isolating and studying the interaction between Fortress and various types

of Phos-Chek retardant.

        100.    Phase 1, which kicked off on June 15, 2023, at the Fort Huachuca Airtanker Base

in Arizona, consisted of the I-OFE tankers carrying and dropping only Fortress FR-200 and

reloading only at Fortress mobile retardant bases.

        101.    Phase 2, which began later in the summer, involved the I-OFE tankers reloading at

the closest airtanker base and involved the co-mingling of FR-200 with all varieties of Phos-Chek

except Phos Chek LC-95.

        102.    Finally, Phase 3 allowed for the co-mingling of Fortress FR-200 and all varieties

of Phos-Chek, including Phos Chek LC-95.

        103.    The I-OFE ran from June 15, 2023 through December 31, 2023, and also included

scheduled winter inspections of the airtankers that had participated in the I-OFE to check for

corrosion of the aircraft.

        104.    Only after the I-OFE testing and complete analysis of the results would the USFS

be in a position to determine the future for Fortress retardant and whether it could progress toward

open competition with Phos-Chek or not.

        105.    Former employee 2 (“FE-2”) is the co-founder and former head of finance and

Chief Operating Officer of Fortress who, after Compass’ acquisition of Fortress, stayed on with

Compass until October 2023. According to FE-2, the Forest Service insisted on conducting the I-

OFE in the summer of 2023 because the Forest Service had concerns that “the two products didn’t

mix well.”

        106.    According to FE-2, Compass knew about the comingling issue that was being

probed in the integration testing. FE-2 stated that, leading up to and during the integration testing



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that started in June of 2023, Compass Minerals and the USFS were having weekly calls to discuss

possible ways to solve this problem of corrosion caused by commingling. “We had calls with the

Forest Service every week. We were always talking about solutions…. There are a lot of ways to

solve it. Just don’t comingle them. Never let the two products mix. Put them in different parts of

the country. Just use the magnesium chloride fire retardant somewhere [instead of both] because

it had a much better eco footprint. They had all kinds of options but they decided to do their I-OFE

so that was their edict. We had no choice.”

       107.    This is corroborated by FE-1, who was also on the weekly calls with the USFS

discussing the co-mingling issue, both leading up to and during the I-OFE. FE-1 stated that the

calls included Defendant Hood, Compass’ Chief Supply Chain Officer and Head of Fire

Retardants, and leaders from the USFS based in Boise, Idaho and Washington, D.C. FE-1

confirmed that they would discuss how things were going with the ongoing I-OFE testing on these

calls. “It was how things were going, what testing was being done, what was being completed,

what was the next step,” FE-1 said. FE-1 took notes on these calls with the USFS in which the I-

OFE was discussed, and emailed the notes to Defendant Hood and others.                The working

relationship between Compass and the USFS both leading up to the I-OFE, and while the I-OFE

was ongoing over the summer of 2023, was “very close,” FE-1 stated.

       108.    FE-1 also confirmed that Compass Minerals – including Defendants Crutchfield,

Crenshaw, Standen and Hood – was aware of the upcoming I-OFE several months before the I-

OFE began in June of 2023. This is because there are a lot of logistics to work through before

beginning this type of testing procedure. The “ramp-up” to it started by mid-April, FE-1 recalled.

       109.    In addition to the calls between the USFS and Compass, FE-1 also stated that there

were internal meetings, held either every week or every other week, specifically on the co-mingling



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issue and the ongoing I-OFE. Defendants Crutchfield, Crenshaw and Standen attended these

meetings, and were aware of, and had conversations about, the co-mingling issue throughout the

summer of 2023. FE-1 knows this because FE-1 personally set up the meetings that focused on

the co-mingling issue and the I-OFE, and was personally in charge of calendaring these meetings

and ensuring that Defendants Crutchfield, Crenshaw and Standen attended.               Defendants

Crutchfield, Crenshaw and Standen “were very well aware of what was going on,” FE-1 said.

        110.   While Compass Minerals knew that the USFS was conducting integration testing

to test for corrosion when Fortress retardant and Phos-Chek co-mingle – and was being kept

abreast of developments on a weekly basis – this is not what Compass Minerals told investors.

Rather, Compass Minerals continued to falsely imply that FR-100 and FR-200 had already passed

all of the USFS’s tests, and touted its ongoing activities in Arizona, California and elsewhere

simply as landmark achievements for the company, omitting the critical caveat that these activities

were taking place as part of the USFS’s integration testing program to test the USFS’s concerns

relating to the serious corrosion found to occur when Fortress retardant co-mingles with Phos-

Chek.

        111.   On August 9, 2023, Compass Minerals held its earnings call for the third quarter of

the fiscal year. Defendant Crutchfield stated in prepared remarks:

        Changing gears to our other primary growth opportunity, I’m pleased to be able to
        share some exciting updates with regard to Fortress. As we announced last quarter,
        we acquired the outstanding 55% in Fortress in May of this year, bringing our
        ownership stake to 100%. This occurred shortly after they signed a supply
        agreement with the U.S. Forest Service. Using their advanced mobile units,
        Fortress is supporting up to five air tanker bases with product and associated
        services this 2023 fire season. In June, Fortress began dropping product at an
        Arizona Air Base, marking Fortress’ first commercial sales since being added to
        the Forest Service qualified product list in late ‘22. As expected, the feedback
        we’ve received regarding both the performance of the products and the execution
        by the Fortress team has been extremely positive.



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       Subject to quarter end, we were working on three additional assigned bases. One in
       Montana, one in Washington State, and the U.S. Forest Service base in California.
       In fact, the U.S. Forest Service recently deployed an aircraft out of a base in San
       Bernardino, California, to drop Fortress products on the Rabbit fire in Riverside
       County marking our first drops in California. Most recently, Fortress has been
       active in combating fires in the Mojave Desert.

       The team at Fortress continues to work on its next generation of products. FR-
       105 will eventually replace FR-100 as the company’s primary powder retardant
       offering. We expect that it will deliver improvements with regard to visibility,
       environmental impact. FR-105 is undergoing the continuation of operational
       field evaluation that began in ‘22 and today has dropped approximately 65% of
       the required 200,000 gallons. We’re well on our way to completing the required
       OFE volume this summer. Looking ahead, we’re currently in discussions with
       U.S. Forest Service regarding the contract for 2024 and beyond.


       112.    The emphasized statements were false or misleading. While the statements portray

Fortress’s recent drops, including in Arizona and California, simply as achievements for the

company, they omit the important fact that these activities were taking place as part of the USFS’s

integration testing program designed to test for corrosion when Fortress retardant and Phos-Chek

co-mingle. The emphasized statements give investors the false impression that since Fortress’s

retardant was fully approved by the USFS, no further testing was required prior to the USFS’s

widespread adoption of Fortress’s retardant. The emphasized statements are especially misleading

because they omit all mention of the I-OFE and the USFS’s continuing concerns related to

corrosion and comingling, even at a time when Compass Minerals and the USFS were having

weekly calls to discuss what FE-1 and FE-2 both acknowledged was a comingling problem, and,

as Defendant Crutchfield acknowledged, Compass Minerals was working closely with the USFS

on the operational plan for the I-OFE.

       113.    Relatedly, Defendant Crutchfield’s characterization of the Company’s June drops

in Arizona as “commercial sales” is misleading, as the “supply agreement” he is referring to is the

contractual amendment that the USFS entered into with Fortress explicitly “for the purpose of


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performing an Integrated Operation[al] Field Evaluation.” See ¶84. By omitting the critical

caveat that the USFS was entering into that contract explicitly “for the continued use and testing

of the new aerial LTFR products until such time that operational concerns have been fully

vetted” in the I-OFE, Defendant Crutchfield misled investors. See ¶85.

       114.    In addition, Defendant Crutchfield’s statement is misleading because, while it

discusses the ongoing OFE for Fortress’s next generation FR-105 retardant, it treats FR-100 and

FR-200 as though they have already passed all USFS tests, omitting any mention of the I-OFE that

is well underway, and as part of which Compass is holding weekly calls with the USFS to try to

deal with the comingling problem.

       115.    The final emphasized statement, “we’re currently in discussions with U.S. Forest

Service regarding the contract for 2024 and beyond,” is misleading because it omits that Compass

Minerals is also in weekly discussions with the USFS about the comingling problem and the

progress of the ongoing I-OFE, the outcome of which will determine whether there will be a

contract for 2024 and beyond. By concealing the ongoing I-OFE and the possibility that the testing

would uncover the same corrosion concerns found in the 2021 OFE, the statement overstated the

likelihood that the USFS would enter into a contract for Fortress retardants for 2024 and beyond.

This was materially misleading to investors.

       116.    Later in the earnings call, Defendant Crutchfield was asked what needs to happen

for Compass to really scale up the Fortress business, given the major existing competitor:

       Greg Lewis [BTIG]: Okay. That’s great to hear. And then just, as I think about
       Fortress, it seems like this is just getting, just continuing to be a nice driver for the
       company. And realizing there’s a major existing competitor. I guess the question
       is, what needs to happen for the company to really scale up this business? And I
       know as we were talking the last couple months, is there a way to accelerate that
       scaling up to kind of to take advantage of just really the demand for that?

       Defendant Crutchfield: Yeah, we’re well on our way in doing that. We are


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       engaging with the U.S. Forest Service for a multi-year agreement 2024 and beyond.
       Those discussions will really get into details in this month and in September. So I
       think we’re going to have a lot more visibility on what the next few years look like
       within the next 60 to 90 days. So there’s nothing that we can do beyond make, kind
       of, nailing that arrangement as we go into ‘24 and ‘25.


       117.    Defendant Crutchfield’s statement is false and misleading because, in the context

of being asked what needs to happen for the company to really scale up the Fortress business, he

responds by explaining that Compass is engaging with the Forest Service and there is nothing they

can do beyond “nailing that arrangement as [they] go into ’24 and ’25,” however, Defendant

Crutchfield misleadingly omitted that Compass’s ability to scale up the Fortress business depends

on the results of the ongoing I-OFE. By omitting mention of the I-OFE – and the possibility that

the Fortress retardant would fail the I-OFE and not be able to scale up the Fortress business –

Defendant Crutchfield misled investors.

       118.    Compass made further misstatements in its Fiscal 2023 Third-Quarter Business

Update Presentation, dated August 8, 2023. Slide 10 of the Presentation states in full:




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       119.    This slide is misleading because, while the slide portrays Fortress’s recent activity

in Arizona, California and elsewhere as achievements for the company, it omits the important fact

that these activities were taking place as part of the USFS’s integration testing program designed

to test for corrosion when Fortress retardant and Phos-Chek co-mingle in the field. Again, the

“commercial milestone” and “commercial drops” being touted here are drops pursuant to the

contractual amendment that the USFS entered into with Fortress explicitly to acquire product to

drop in the I-OFE. See ¶84. By omitting the critical caveat that the USFS had entered into this

contract explicitly “for the continued use and testing of the new aerial LTFR products until such

time that operational concerns have been fully vetted” in the I-OFE, the statement misleads

investors and overstates the possibility that there will be additional contracts in 2024 and beyond.

See ¶85.

       120.    The slide’s bottom bullet point, “USFS recently deployed aircraft out of San



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Bernardino, California to drop Fortress product on the Rabbit fire in Riverside County,” the

related picture and its caption highlight what makes this slide misleading to investors. The photo

in the slide is captioned: “Above: Fortress FR-200 aerial retardant being deployed at the Rabbit

fire in Riverside County, California.”

       121.    When one looks closely at the plane in the photo, one can see that the plane is

Erickson Aero Tanker 106:




       122.    As later confirmed by the director of production and certification of Erickson Aero

Tanker, Erickson Aero Tanker 106 was one of the two airtankers that participated in the I-OFE

during the summer of 2023, sustained significant corrosion damage, and was later grounded for

the entire 2024 fire season because of the corrosion sustained during the I-OFE.

       123.    Moreover, the other airtanker involved in the I-OFE was Neptune Aviation’s

Tanker 02, as later revealed by Neptune Aviation’s vice-president of operations. Significant

corrosion on Tanker 02 was found after flying back from San Bernardino, California, where it had

also been carrying and dropping Fortress retardant as part of the I-OFE.

       124.    Fortress’ drops from Erickson Auto Tanker 106 on the Rabbit fire (which burned

in July of 2023), and the supply agreement pursuant to which those drops were made, were all part


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of the USFS’s I-OFE testing program studying whether Fortress retardant and Phos-Check could

be safely integrated in the field or not. But that is not what Compass Minerals told investors.

Rather, Compass falsely conveyed that the Fortress retardant FR-100 and FR-200 had already

passed all the tests and that its recent drops from Erickson Aero Tanker 106 in California and

elsewhere were part of a normal commercial contract and landmark achievements for the

Company. Compass’s touting these supposed achievements – while omitting they were really part

of the USFS’s I-OFE testing – materially misled investors.5

       125.    Compass made a substantially similar misstatement in its third quarter earnings

report, dated August 8, 2023, which included the following under the heading “Fortress North

America Update:”

       As previously disclosed, Compass Minerals completed the acquisition of the
       remaining 55% of Fortress that it did not own on May 5, 2023. Prior to the

5
        Compass used the same slide in its slideshow at C.L. King’s 21st Annual Best Ideas
Conference, on September 18, 2023. The slide was false and misleading on September 18, 2023
for the same reasons it was false and misleading on August 8, 2023. Compass also posted the
same photo of Erickson Tanker 106 dropping FR-200 several times on its social media accounts
throughout the Class Period, while omitting that what the photograph captured was I-OFE testing.
For instance, Compass posted the photo on X on August 22, 2023, beneath the text “Fortress is
the only alternative to fertilizer-based fire retardants currently on the market and the first entrant
to the industry in over 20 years to be added to the U.S. Forest Service’s Qualified Product List,”
which gave the impression that the Fortress retardant had passed all USFS testing and omitted
that what the photograph actually captures is the next round of USFS testing, the I-OFE. In
addition, Fortress posted photos of both I-OFE airtankers, Neptune Tanker 02 and Erickson
Tanker 106, on its social media accounts during the Class Period, alongside captions touting that
the FR-200 retardant these tankers were dropping was fully qualified and on the USFS’s QPL,
also omitting that the photos captured I-OFE testing. See October 2, 2023 Fortress post on
Facebook and X (showing Neptune Tanker 02 dropping FR-200 with caption, “The latest trends
in tanker aircraft are revolutionizing wildfire containment. #Neptune02 tankers have been
dropping the #FortressFR-200, a fully qualified retardant, on the USFS qualified product list”);
November 3, 2023 post on Facebook (showing Erickson Tanker 106 dropping Fortress FR-200
with caption, “FR-200 in action to help fight the Highland Fire in Aguangaca, CA. Fortress’ FR-
200 is fully approved on the USFS-qualified product list”); see also February 2, 2024 post on
Facebook and X (showing Erickson Tanker 106 on runway in mobile base, with caption, “When
you see our hexagon logo at one of our mobile retardant bases, you know you’re getting a fire
retardant that’s on the U.S. Forest Service Qualified Products List.”).

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       acquisition, Fortress entered into an agreement with the U.S. Forest Service
       (USFS) to supply product and provide associated services in the 2023 fire season
       for up to five mobile bases. In June it achieved a commercial milestone by
       dropping its first product supporting fire suppression efforts in Arizona.
       Subsequent to quarter end, the USFS deployed an aircraft out of a base in San
       Bernardino, California, to drop Fortress products on the Rabbit fire in Riverside
       County.


       126.     Like the misstatements in its third-quarter earnings call and investor presentation,

this statement is misleading because, in announcing that Fortress has contracted with the USFS to

supply retardant for five mobile bases in the 2023 fire season, it omits that this is part of the USFS’s

ongoing I-OFE testing. In fact, the May contract was entered into specifically so that the USFS

could obtain retardant to drop as part of the I-OFE. See ¶84. The omission of this fact makes the

affirmative statement misleading. In addition, by touting Fortress’s June drops in Arizona and its

drops out of the San Bernardino, California airtanker base on the Rabbit fire in Riverside, while

omitting that these activities are part of the I-OFE designed to test for corrosion and other problems

when Fortress retardant is integrated with Phos-Chek, the statement misleadingly conceals a

substantial risk that the Fortress retardant would fail the I-OFE and, as a result, the USFS would

not enter into a contract for Fortress retardants for 2024 and beyond.

       127.     On November 17, 2023, Compass Minerals held its fourth quarter earnings call.

Defendant Crutchfield stated in prepared remarks:

       Fiscal ‘23 was also an exciting year for our emerging Fire Retardant business. After
       a rigorous multi-year process, two core Fortress products were added to the US
       Forest Service qualified product list in December of 2022. This opened the door to
       allow governmental agencies to purchase Fortress’ fire retardant products,
       which were the first new products to enter the market in nearly two decades.
       Fortress was awarded its first contract in May and we consolidated our ownership
       of the company shortly thereafter. In June ‘23, we achieved another milestone
       when we dropped our first commercial product. The feedback that we’ve received
       on the efficacy of the products and the operational performance of the team has
       been excellent. We’re currently in the process of finalizing our contract with US
       Forest Service for 2024. We’re off to a good start with Fortress and we’re excited
       about the high-margin counter-seasonal growth potential that this business can

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           provide for the Company.


           128.   The emphasized statements were false and misleading. The statement again touts

the company’s June drops as a commercial milestone, while omitting the fact that these drops are

happening within the ongoing I-OFE, designed to test what happens when Fortress retardant is

integrated with Phos-Chek. Relatedly, it is misleading to state that the feedback received on the

products has been excellent and that the company is “currently in the process of finalizing our

contract with U.S. Forest Service for 2024,” because the I-OFE is still ongoing and, in fact,

included scheduled winter inspections of the airtankers used in the testing. Accordingly, Compass

was not going to learn the results of the I-OFE until winter or later, yet this statement – touting the

excellent feedback and stating that the company is “currently in the process of finalizing our

contract with U.S. Forest Service for 2024” – gave the false impression that there are no known

impediments or preconditions to finalizing the contract. The statement misleadingly conceals the

substantial risk that the ongoing I-OFE would reveal the same corrosion concerns that the 2021

OFE revealed.       Accordingly, the statement was materially false and misleading because it

understated the risk that the USFS would not enter into a contact for Fortress retardants for 2024

and beyond, considering that the integration testing had not yet concluded, and Compass Minerals

knew there was a “comingling problem,” a serious problem that it was discussing with the USFS

on a weekly basis.

           129.   Compass made similar misstatements in its Fiscal 2023 Fourth-Quarter and Full-

Year Business Update Presentation, dated November 16, 2023. Slide 10 of the Presentation states

in full:




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       130.    This slide is false and misleading. First, Compass again falsely treats its drops in

Arizona in June 2023 and its drops from Erickson Aero Tanker 106 in Riverside as commercial

achievements for the company, while omitting the fact that these drops are happening within the

ongoing I-OFE, designed to test what happens when Fortress retardant is integrated with Phos-

Chek. Omitting mention of the I-OFE – and the resulting possibility that the I-OFE would find

signs of corrosion it was designed to detect – misleadingly concealed a substantial risk that the

USFS would not enter into a contract for Fortress retardants for 2024.

       131.    Relatedly, the bottom bullet point – “Compass Minerals engaging with USFS

regarding calendar 2024 contract; expected to finalize in December 2023 or January 2024” is false

and misleading because, by omitting any mention of the I-OFE, that the I-OFE is ongoing with

airtanker inspections scheduled for the winter, that Compass Minerals is holding weekly calls with

the USFS to resolve the serious comingling problem, and that successful completion of the I-OFE



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is a prerequisite to continued contracts with the USFS and ultimately entering open competition,

the statement misleadingly concealed a substantial risk that the USFS would not enter into a

contract for Fortress retardants for 2024. This bottom bullet point, which appears right next to the

I-OFE photograph (without disclosing as much) and touts Compass Minerals’ ongoing

engagement with USFS on the 2024 contract, highlights what makes the slide so misleading: By

concealing that the photograph is actually from the I-OFE (and indeed omitting the existence of

the I-OFE entirely), the slide conceals the possibility that the Fortress retardant would fail the I-

OFE and not secure a contract for 2024 and beyond.

       132.    Compass made a substantially similar misstatement in its fourth-quarter earnings

report, dated November 16, 2023, which included the following under the heading “Fire Retardant

Business Update:

       During the year, Compass Minerals completed the acquisition of the remaining
       55% of Fortress, bringing the company to full ownership. Prior to the acquisition,
       Fortress entered into its initial agreement with the U.S. Forest Service (USFS) to
       supply product and provide associated services in the 2023 fire season for up to
       five mobile bases and in June it achieved its first commercial sales. Feedback
       received regarding the performance of Fortress products and the operational
       execution by company personnel was positive.


       133.    Like the misstatements in its fourth-quarter earnings call and investor presentation,

this statement is misleading because by touting Fortress’s 2023 contract with the USFS, the recent

milestones reached in June and the positive feedback received – without disclosing the I-OFE and

the resulting possibility that the I-OFE would find signs of corrosion that it was designed to detect

– the statement misleadingly concealed a substantial risk that the USFS would not enter into a

contract for Fortress retardants for 2024 and beyond.

       134.    On January 15, 2024, the Company agreed with Defendant Crutchfield that,

effective January 17, 2024, Crutchfield would cease to serve as the Company’s President, CEO


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and board member.

        135.    Effective January 16, 2024, Defendant Standen ceased to serve as the Company’s

Chief Commercial Officer.

        136.    On February 8, 2024, Compass Minerals held its earnings call for the first quarter

of the 2024 fiscal year. While Compass Minerals had told investors in November that it expected

to have a finalized contract with the USFS for the 2024 fire season in December 2023 or January

2024, Compass still did not have a contract. Defendant Crenshaw explained away the delay by

stating that:

        the U.S. Forest Service changed the solicitation contract requirements for the
        calendar ‘24 contract and this has resulted in delays in the negotiation and
        finalization of a contract for the ‘24 fire season, which starts in the April, May
        timeframe. We continue to expect to have a finalized contract prior to deployment
        for the upcoming fire season.

        137.    Later in the earnings call, when asked about the apparent delay in the contracting

process, Compass provided this update on Compass’s engagement with the USFS:

        Q: And then lastly, you talked about some changes in requirements from the US Forest
        Service affecting your Fortress business. But I couldn’t tell whether you thought that it
        actually delayed anything. What you said is you expected to have your paperwork in
        order before the 2024 fire season. So if that’s true, does the delay really make no
        difference?
        Defendant Jenny Hood: So the delay, just to give a little bit more color on that. The
        original solicitation from the US Forest Service was issued in late September. It took
        them until mid December to issue a final revised solicitation, and the solicitation deadline
        was then January 10th. So it absolutely pushed back the contracting process, in total.
        However, we are pleased since January 10th when we were able to start the
        negotiations, we’re pleased with the progress and the engagement that we’re seeing
        from US Forest Service. Keep in mind that previously the Forest Service was dealing
        with one sole source supplier for over two decades. So thinking about how to integrate
        another supplier, both from a contractual standpoint as well as in the field has been
        quite challenging for them, but however, we are supporting them in those efforts. And
        again, we’re pleased with the engagement that we’ve received since the submission
        deadline.
        138.    Defendant Hood’s emphasized statement is false and misleading. In the context of



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discussing the difficulties the USFS has been experiencing in integrating retardant from a new

supplier (Compass) with the existing supplier (Perimeter Solutions), Defendant Hood’s statement

makes it sound as though these difficulties are simply due to the fact “that previously the Forest

Service was dealing with one sole source supplier for over two decades.” But that is not the real

reason integrating a new supplier “in the field has been quite challenging for them.” Rather,

integrating a new supplier in the field had been challenging because, pending the results of the I-

OFE, the two retardants cannot comingle because of serious corrosion concerns, which Compass

had repeatedly denied and downplayed, but that Compass knew from its weekly calls with the

USFS on the “co-mingling problem,” remained a major concern for the USFS and was the subject

of its integration testing program launched specifically to look for corrosion when the two

retardants mix. By omitting the “co-mingling problem” and the I-OFE from its discussion of the

USFS’s efforts to integrate a new supplier in the field – and instead simply stating that “we are

supporting them in those efforts” and “we’re pleased with the engagement that we’ve received

since the submission deadline” – the statement misleadingly concealed that the USFS was

continuing to probe the documented corrosion problems involving the integration of Fortress and

Phos-Chek retardant, and misleadingly overstated the commercial viability of Fortress retardant

and the likelihood of a USFS contact for 2024 and beyond.

       139.    On February 29, 2024, Defendant Standen sold 34,342 shares of stock he owned in

the Company, worth approximately $779,000. Defendant Standen’s stock sale liquidated all of

the shares he owned in the Company, other than 3,186 shares he held indirectly through the

Company’s 401(k) Plan.

                                THE TRUTH EMERGES
       140.    On March 25, 2024, before the market opened, Compass issued a press release



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revealing that the I-OFE’s scheduled winter airtanker inspections had found significant corrosion

in both of the airtankers that had carried Fortress retardant as part of the I-OFE and, as result, the

USFS would not be entering into a contract for Fortress retardant. The press release stated in

relevant part:

       Compass Minerals (NYSE: CMP), a leading global provider of essential minerals,
       today announced that the U.S. Forest Service (USFS) has informed the company
       that it will not be entering into a contract for the use of magnesium chloride-
       based aerial fire retardants for the 2024 fire season.

       During scheduled winter airtanker inspections as part of the USFS’ Integrated
       Operational Field Evaluation (I-OFE), it was discovered that certain airtankers
       that had flown Fortress North America’s (Fortress’) proprietary, magnesium
       chloride-based aerial fire retardants revealed significant signs of corrosion in
       areas where build-up of the retardant had occurred. The findings from this more
       extensive inspection raised aircraft safety concerns, prompting the USFS’
       decision to inform Compass Minerals on March 22, 2024, that it would be “unable
       to define the scope and associated terms and conditions of a new contract” with the
       company until the National Transportation Safety Board (NTSB) and National
       Institute of Standards and Technology (NIST) conducted a coordinated,
       independent assessment of the findings.

       “While we are disappointed with the findings of the initial inspection, we share the
       USFS’ prioritization of safety above all other factors,” said Edward C. Dowling Jr.,
       president and CEO. “As we work collaboratively with the USFS, NTSB and NIST
       on the more detailed assessment to be conducted, we have to assume based on this
       new information that Fortress’ proprietary, magnesium chloride-based aerial fire-
       retardant formulation will not be utilized for the foreseeable future in the fight
       against wildfires.”

       (Emphasis added).


       141.      On this news, the price of Compass Minerals stock fell $3.00 per share, or 17.09%,

to close at $14.55 on March 25, 2024. The next day, Compass Minerals stock fell a further $0.86

per share, or 5.91%, to close at $13.69.

       142.      Analysts were shocked, given how Compass had omitted the ongoing I-OFE from

its public statements and repeatedly assured investors that any concern with corrosion or the co-

mingling of Fortress and Phos-Chek retardants was a “non-issue.” In a report published on March

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25, 2024, a BMO Capital Markets analyst report stated: “CMP will not be signing a supply

agreement for the 2024 fire season with the USFS after its Fortress branded (magnesium chloride)

aerial fire retardant caused corrosion in airtankers.”       The analyst opined: “The Fortress

development is shocking, in our view[.]”

       143.    On April 18, 2024, an article appeared in the Missoulian, entitled: “Corrosion from

new fire retardant grounds two airtankers.” The article reported on the identity of the two

airtankers that participated in the I-OFE in the summer of 2023 and sustained significant corrosion:

       Nic Lynn, vice-president of operations at Missoula-based Neptune Aviation,
       confirmed that the company’s Tanker 02 used the magnesium chloride retardant
       from Compass Minerals last year. The plane is one of Neptune’s nine active BAe-
       146 quad-jet tankers. It has not flown since it returned to Missoula from San
       Bernardino, California, on Dec. 19 last year. The company’s other aircraft were not
       affected.
       …
       Kevin McLaughlin, director of production and certification at Oregon-based
       Erickson Aero Tanker, confirmed that the company’s Tanker 106 used Compass
       Minerals’ retardant last year and would be grounded for the 2024 fire season. It last
       flew Dec. 14 last year when it returned to Madras, Oregon, from Porterville,
       California. The six other aircraft in Erickson’s fleet — all MD-87 jets like Tanker
       106 — were unaffected.


       144.    Compass Minerals had used a photograph of Erickson Aero Tanker 106 dropping

Fortress retardant on the Rabbit fire in Riverside, California – a fire that burned in July, 2023, in

the middle of the I-OFE – in multiple investor presentations during the Class Period, without

disclosing the existence of, and reasons for, the I-OFE. See ¶¶118, 121, 129.

       145.    Further corroborating the information in the Missoulian report, the USFS

Contracting Officer for Air Tankers confirmed that Erickson Aero Tanker 106 and Neptune Tanker

02 were the only two tankers that carried Fortress retardant, and that they both sustained corrosion

in the I-OFE testing. Moreover, Erickson Tanker 106 was, to his knowledge, a brand new air

tanker that had never carried retardant prior to the I-OFE. The Contracting Officer added that both


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air tanker vendors were in the process of submitting claims related to the necessary repairs, and

that he has never seen vendors make corrosion-related claims in the thirteen or so years that he has

been in charge of the air tanker program for the United States Fire Service.

          146.   On May 7, 2024, in the Company’s Fiscal 2024 Second-Quarter Results Press

Release, the Company stated: “As previously reported, in March of 2024 Compass Minerals was

informed of issues impacting the utilization of magnesium chloride-based fire retardants in aerial

firefighting. As a result of the uncertainty surrounding the future use of these magnesium chloride-

based products, the company recognized a loss on impairment in the quarter of $55.6 million

related to write downs of goodwill and intangible assets.”

                 ADDITIONAL SCIENTER AND MOTIVE ALLEGATIONS
          147.   Plaintiffs’ investigation uncovered additional information probative of the scienter

and motive of Compass Minerals for making the false and misleading statements during the Class

Period.

          148.   According to FE-1, Fortress’ former Chief Administrative Officer from May 2019

to May 2023 who held that same position at Compass Minerals from the time that Compass

acquired Fortress in May of 2023 until March of 2024, the top leadership at Compass – including

Defendants Crutchfield, Standen and Hood – all knew about the co-mingling issue, and had known

that the co-mingling of Phos-Chek and Fortress caused corrosion since they had received the USFS

Report in early 2022. “They were completely aware,” FE-1 said. Not only had these Defendants

received the complete USFS Report in early 2022, but they were attending meetings on the co-

mingling problem and the I-OFE throughout the summer of 2023, according to FE-1’s personal

knowledge.

          149.   But according to FE-1, Compass believed that the corrosion was only an issue when

Fortress retardant co-mingled with Phos-Chek LC-95 specifically, not with other varieties of Phos-

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Chek.

        150.   Phos-Chek LC-95 has been the form of Phos-Chek widely used for decades,

however, Perimeter Solutions has been claiming to develop “next generation” varieties of Phos-

Chek with altered chemistries that are purported to be more effective and have an improved

environmental and toxicity profile.

        151.   For instance, Perimeter Solutions announced that it was launching its next

generation variety Phos-Chek LCE20-Fx in a press release from November of 2020. However,

according to Eddie Goldberg, Vice Chairman of Perimeter Solutions, the new product was still in

the process of being launched as of an interview conducted with Aerial Fire magazine in July of

2023. See https://aerialfiremag.com/2023/07/03/sixty-years-of-phos-chek/ (“You know, we’re

always looking forward in our research and development to see what improvements can be made

to our products, and what new chemistries might be out there. We’re currently launching our latest

product, PHOS-CHEK LCE20-FX, a next-generation liquid concentrate. It’ll eventually replace

our LC95A product that has been a global industry standard for the last almost 20 years.”).

        152.   According to FE-1, someone at the Forest Service mentioned to Compass that the

Forest Service was not planning to order more Phos-Chek LC-95. As a result, Compass believed

that Phos-Chek LC-95 was going to be phased out faster than has been the case, and this would

have solved the co-mingling problem. “So what was supposed to happen was the Forest Service

was going to phase out LC95 and then all of the comingling issues would be resolved because that

was the only product there was an issue with,” FE-1 said.

        153.   That explains why Compass believed, wrongly, that it could get away with its fake-

it-till-you-make it attempt to cover up the comingling problem and the existence of, and reasons

for, the I-OFE: If the corrosion was limited to Fortress retardant co-mingling with Phos Chek LC-



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95, which was being phased out anyway, then perhaps it would not show up in the I-OFE testing

results.

           154.   However, Phos-Chek LC-95 has apparently still not been phased out, and Phase 3

of the I-OFE specifically set out to test the interaction between FR-200 and Phos-Chek LC-95.

See ¶102.

           155.   Even after the USFS had decided to test the integration of Fortress retardant with

Phos-Chek LC-95, though, Compass continued to conceal the co-mingling problem from

investors, issuing statements that gave the false impression that co-mingling was a non-issue; that

FR-100 and FR-200 had already passed all the USFS testing and that no further testing was

necessary; and that therefore misleadingly overstated the likelihood that the Fortress retardant

would win a contract for 2024 and beyond, right up until the results of the I-OFE’s scheduled

winter airtanker inspections were revealed on March 25, 2024.

                                CLASS ACTION ALLEGATIONS

           156.   Plaintiffs bring this action as a class action pursuant to Federal Rules of Civil

Procedure 23(a) and (b)(3) on behalf of a Class, consisting of all persons who purchased the

common stock of Compass Minerals during the Class Period and who were damaged thereby.

Excluded from the Class are Defendants, the officers and directors of the Company at all relevant

times, members of their immediate families and their legal representatives, heirs, successors or

assigns and any entity in which defendants have or had a controlling interest.

           157.   The members of the Class are so numerous that joinder of all members is

impracticable. Throughout the Class Period, Compass Minerals’ securities were actively traded

on the New York Stock Exchange. While the exact number of Class members is unknown to




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Plaintiffs at this time and can only be ascertained through appropriate discovery, Plaintiffs believe

that there are at least hundreds, if not thousands, of members in the proposed Class.

       158.       Plaintiffs’ claims are typical of the claims of the members of the Class, as all

members of the Class are similarly affected by Defendants’ wrongful conduct in violation of

federal law that is complained of herein.

       159.       Plaintiffs will fairly and adequately protect the interests of the members of the

Class and have retained counsel competent and experienced in class and securities litigation.

       160.       Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:

                  (a)    whether the federal securities laws were violated by Defendants’ acts as

alleged herein;

                  (b)    whether statements made by Defendants to the investing public during the

Class Period misrepresented material facts about the business, operations and prospects of

Compass Minerals;

                  (c)    whether the Individual Defendants caused Compass Minerals to issue false

and misleading statements during the Class Period;

                  (d)    whether Defendants acted knowingly or recklessly in issuing false and

misleading statements; and

                  (e)    to what extent the members of the Class have sustained damages and the

proper measure of damages.

       161.       A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. Furthermore, as



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the damages suffered by individual Class members may be relatively small, the expense and

burden of individual litigation make it impossible for members of the Class to redress individually

the wrongs done to them. There will be no difficulty in the management of this action as a class

action.

                                PRESUMPTION OF RELIANCE
          162.   At all relevant times, the market for Compass Minerals common stock was an

efficient market for the following reasons, among others:

                the Company’s securities met the requirements for listing, and were listed and

                 actively traded on the New York Stock Exchange, an efficient market;

                During the class period, on average, hundreds of thousands of shares of Compass

                 Minerals stock were traded on a weekly basis, demonstrating a very active and

                 broad market for Compass Minerals stock and permitting a very strong

                 presumption of an efficient market;

                As a regulated issuer, Compass Minerals filed periodic public reports with the SEC

                 and was covered by multiple analysts;

                Compass Minerals regularly communicated with public investors via established

                 market communication mechanisms, including through regular disseminations of

                 press releases on the national circuits of major newswire services and through other

                 wide-ranging public disclosures, such as communications with the financial press

                 and other similar reporting services;

                Numerous market makers made a market in Compass Minerals stock;

                Wall Street analysts at major brokerage firms issued reports on Compass Minerals

                 on a regular basis during the Class Period;



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              Unexpected material news about Compass Minerals was rapidly reflected and

               incorporated into the Company’s stock price during the Class Period.

       74.     Based on the foregoing, the market for Compass Minerals common stock promptly

digested current information regarding Compass Minerals from all publicly available sources and

reflected such information in Compass Minerals’ stock price. Under these circumstances, all

purchasers of Compass Minerals common stock during the Class Period suffered similar injury

through their purchase of Compass Minerals common stock at artificially inflated prices, and a

presumption of reliance applies.

       163.    Further, at all relevant times, Plaintiffs and all other Class members reasonably

relied upon the Defendants to disclose material information as required by law and in the

Company’s SEC filings. Plaintiffs and the other Class members would not have purchased

Compass Minerals common stock at artificially inflated prices if the Defendants had disclosed all

material information as required. Thus, to the extent that the Defendants concealed or improperly

failed to disclose material facts with regard to the Company and its business, Plaintiffs and other

Class members are entitled to a presumption of reliance in accordance with Affiliated Ute Citizens

of the State of Utah v. United States, 406 U.S. 128 (1972).

   THE STATUTORY SAFE HARBOR AND BESPEAKS CAUTION DOCTINE ARE
                          INAPPLICABLE
       164.    The Private Securities Litigation Reform Act’s statutory safe harbor and the

bespeaks caution doctrine applicable to forward-looking statements under certain circumstances

does not apply to any of the false and materially misleading statements alleged herein.

       165.    None of the statements complained of herein was a forward-looking statement.

Rather, each was a historical statement or a statement of purportedly current facts and conditions

relating to Compass Minerals’ business at the time such statement was made.


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        166.    To the extent that any of the false and materially misleading statements alleged

herein can be construed as forward-looking, any such statement was not accompanied by

meaningful cautionary language identifying important facts that could cause actual results to

differ materially from those in the statement.

        167.    To the extent that the statutory safe harbor does apply to any forward-looking

statement alleged herein, the Defendants are liable for any such statement because at the time

such statement was made, the speaker actually knew that the statement was false or misleading,

and/or the statement was authorized and/or approved by an executive officer of Compass Minerals

who actually knew that such statement was false when made.

        168.    Moreover, to the extent any Defendant issued any disclosures purportedly

designed to “warn” or “caution” investors of certain “risks,” those disclosures were also materially

false and/or misleading when made because they did not disclose that the risks that were the

subject of such warnings had already materialized and/or because such Defendant had the

requisite state of mind.

                                          COUNT I
          For Violations of Section 10(b) And Rule 10b-5 Promulgated Thereunder
                                   Against All Defendants

        169.    Plaintiffs repeat and reallege each and every allegation contained above as if fully

set forth herein.

        170.    This Count asserted against Defendants is based upon Section 10(b) of the

Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated thereunder by the SEC.

        171.    During the Class Period, Defendants, individually and in concert, directly or

indirectly, disseminated or approved the false statements specified above, which they knew or

deliberately disregarded were misleading in that they contained misrepresentations and failed to



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disclose material facts necessary in order to make the statements made, in light of the

circumstances under which they were made, not misleading.

       172.    Defendants violated §10(b) of the 1934 Act and Rule 10b-5 in that they:

                      employed devices, schemes and artifices to defraud;

                      made untrue statements of material facts or omitted to state material facts

                       necessary in order to make the statements made, in light of the

                       circumstances under which they were made, not misleading; or

                      engaged in acts, practices and a course of business that operated as a fraud

                       or deceit upon Plaintiffs and others similarly situated in connection with

                       their purchases of the Company’s securities during the Class Period.

       173.    Defendants acted with scienter in that they knew that the public documents and

statements issued or disseminated in the name of the Company were materially false and

misleading; knew that such statements or documents would be issued or disseminated to the

investing public; and knowingly and substantially participated, or acquiesced in the issuance or

dissemination of such statements or documents as primary violations of the securities laws. These

Defendants by virtue of their receipt of information reflecting the true facts of the Company, their

control over, and/or receipt and/or modification of the Company’s allegedly materially misleading

statements, and/or their associations with the Company which made them privy to confidential

proprietary information concerning the Company and its business, participated in the fraudulent

scheme alleged herein.

       174.     Individual Defendants, who are or were senior executives and/or directors of the

Company, had actual knowledge of the material omissions and/or the falsity of the material

statements set forth above, and intended to deceive Plaintiffs and the other members of the Class,



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or, in the alternative, acted with reckless disregard for the truth when they failed to ascertain and

disclose the true facts in the statements made by them or other Company’s personnel to members

of the investing public, including Plaintiffs and the Class.

       175.    As a result of the foregoing, the market price of the Company’s securities was

artificially inflated during the Class Period. In ignorance of the falsity of Defendants’ statements,

Plaintiffs and the other members of the Class relied on the statements described above and/or the

integrity of the market price of the Company’s securities during the Class Period in purchasing

the Company’s securities at prices that were artificially inflated as a result of Defendants’ false

and misleading statements.

       176.    Had Plaintiffs and the other members of the Class been aware that the market price

of the Company’s securities had been artificially and falsely inflated by Defendants’ misleading

statements and by the material adverse information which Defendants did not disclose, they would

not have purchased the Company’s securities at the artificially inflated prices that they did, or at

all.

       177.     As a result of the wrongful conduct alleged herein, Plaintiffs and other members

of the Class have suffered damages in an amount to be established at trial.

       178.    By reason of the foregoing, Defendants have violated Section 10(b) of the 1934

Act and Rule 10b-5 promulgated thereunder and are liable to Plaintiffs and the other members of

the Class for substantial damages which they suffered in connection with their purchase of the

Company’s securities during the Class Period.




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                                            COUNT II
                         Violations of Section 20(a) of the Exchange Act
                               Against the Individual Defendants

       179.    Plaintiffs repeat and reallege each and every allegation contained in the foregoing

paragraphs as if fully set forth herein.

       180.    By virtue of their high-level positions, agency, ownership and contractual rights,

participation in and/or awareness and/or intimate knowledge of the misleading statements

disseminated to the investing public, the Individual Defendants had the power to influence and

control, and did influence and control, directly or indirectly, the decision-making of the primary

violator, including the content and dissemination of the various statements that Plaintiffs contend

are false and misleading. In particular, each Individual Defendant had the power to control or

influence the particular transactions and statements giving rise to the securities violations as

alleged herein, and exercised the same.

       181.      As set forth above, Compass Minerals violated Section 10(b) and Rule 10b-5 by

their acts and omissions as alleged in this Complaint.

       182.    Because of their positions of control and authority as senior executives, the

Individual Defendants were able to, and did, control the contents of the various statements,

reports, press releases and public filings which the Company disseminated in the marketplace

during the Class Period concerning the Company’s business. Throughout the Class Period, the

Individual Defendants exercised their power and authority to cause the Company to engage in the

wrongful acts complained of herein. In particular, the Individual Defendants had direct and

supervisory involvement in the day-to-day operations of the Company, and therefore had the

power to control or influence the particular events and actions giving rise to the securities

violations alleged herein.



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        183.    The Individual Defendants, therefore, were “controlling persons” of the Company

within the meaning of Section 20(a) of the Exchange Act. In this capacity, they participated in the

unlawful conduct alleged which artificially inflated the market price of Compass Minerals

securities. As a direct and proximate result of Defendants’ wrongful conduct, Plaintiffs and other

members of the Class suffered damages in connection with their purchases of the Company’s

common stock during the Class Period.

        184.    By reason of the above conduct, the Individual Defendants are liable pursuant to

Section 20(a) of the Exchange Act for the violations committed by the Company.

                                    PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs, on behalf of themselves and the Class, pray for judgment and

relief as follows:

        (a)     declaring this action to be a proper class action, certifying Plaintiffs as class

representatives under Rule 23 of the Federal Rules of Civil Procedure and designating Plaintiffs’

counsel as Lead Counsel;

        (b)     awarding damages in favor of Plaintiffs and the other Class members against all

defendants, jointly and severally, together with interest thereon;

        (c)     awarding Plaintiffs and the Class reasonable costs and expenses incurred in this

action, including counsel fees and expert fees; and

        (d)     awarding Plaintiffs and other members of the Class such other and further relief

as the Court may deem just and proper.

                                  JURY TRIAL DEMANDED

        Plaintiffs hereby demand a trial by jury.




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Dated: February 10, 2025         THE ROSEN LAW FIRM, P.A.

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